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                    THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA


DETRICK KING                                 )
                                             )    Civil Action No.
     Plaintiff,                              )
v.                                           )
                                             )
MRC #7 LLC d/b/a MAACO Retail                )    JURY TRIAL DEMANDED
Center                                       )
                                             )
  Defendant.                                 )
_________________________________            )

                          COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Detrick King (“Plaintiff”), through undersigned

counsel, and files this lawsuit against MRC #7 LLC d/b/a MAACO Retail Center

(“Defendant”), and for his Complaint shows the following:

                             I.    Nature of Complaint

                                             1.

        Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                             2.

        This action seeks declaratory relief, along with liquidated and actual

damages, attorney’s fees and costs for Defendant’s failure to pay federally

mandated overtime wages to Plaintiff in violation of the Fair Labor Standards Act

of 1938, as amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”).
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                            II.      Jurisdiction and Venue

                                                  3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 216(b) and

28 U.S.C. § 1331.

                                                  4.

      Defendant does business in the State of Georgia and is engaged in commerce

in the State of Georgia. Venue is proper in this district pursuant to 29 U.S.C. §

1391(b) because a substantial part of the events and omissions that give rise to

Plaintiff’s claims occurred in this district.

                                  III.   Parties and Facts

                                                  5.

      Defendant is a Corporation that does business, and is engaged in commerce

within the State of Georgia.

                                                  6.

      Defendant is now and, at all times relevant hereto has been a domestic

corporation engaged in an industry affecting commerce.




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                                              7.

        Defendant may be served by delivering a copy of the summons and

complaint at its physical address: 1826 Metropolitan Parkway Southwest, Atlanta,

GA 30315.

                                              8.

        Plaintiff began working as a Paint Tech in or around April 2021.

                                              9.

        Plaintiff’s hourly rate was $17.00 an hour and he was told he would receive

commission for each car he completed.

                                              10.

        For one (1) or two (2) days of any given week he would work 16-18 hours at

the shop, painting cars.

                                              11.

        However, Plaintiff was not getting paid any overtime for this additional

work.

                                              12.

        Plaintiff informed his supervisor on several occasions regarding his concerns

of not being paid appropriate overtime or commission.



                                              13.


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      However, his supervisor refused to execute any changes to his pay. This

continued until his wrongful termination in August 2021.

                                            14.

      Defendant stated Plaintiff’s termination was due to his vandalizing the shop.

However, Defendant had not terminated any other employee who did not

complaint about overtime pay and who took part in the same act.

                                            15.

      Plaintiff worked at least twenty-five (25) hours of overtime per week while

working at Defendant.

                                            16.

      Plaintiff was an “employee” of Defendant, as that term has been defined by

the FLSA, 29 U.S.C.S. § 201 et seq., 29 U.S.C. § 203(e).

                                            17.

      Throughout his employment with Defendant, Plaintiff has been entitled to

overtime compensation for all hours worked in excess of 40 hours in a workweek.

                                            18.

      Defendant is a private employer engaged in interstate commerce, and its

gross revenues exceed $500,000 per year.



                                            19.


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        Defendant permitted Plaintiff to regularly work in excess of 40 hours in

given workweeks without receiving overtime compensation.

                                             20.

        Defendant is governed by and subject to the FLSA, 29 U.S.C. §204 and

§207.

                                             21.

        Throughout Plaintiff’s employment, Plaintiff’s job duties and the

performance thereof, along with her hours worked were controlled by Defendant.

                                             22.

        Throughout his employment with Defendant, Plaintiff was economically

dependent on Defendant.

                                             23.

        Plaintiff has been individually covered under the FLSA by virtue of the

nature of the work he performed.

                                      Count I

                 Violation of the Overtime Wage Requirement of
                          the Fair Labor Standards Act

                                             24.

        Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.
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                                               25.

      Defendants have violated the FLSA, 29 U.S.C. § 201, et seq. including but

not limited to 29 U.S.C. § 207, by failing to pay minimum wage and overtime

wages for hours Plaintiff worked in excess of (40) hours in given workweeks.

                                               26.

      The FLSA, 29 U.S.C. § 207, requires employers to pay employees one and

one-half times the regular rate of pay for all hours worked in excess of (40) hours

in a workweek.

                                               27.

      Defendant knew or had reason to know Plaintiff regularly worked over 40

hours in workweeks without overtime compensation.

                                               28.

      Defendant’s actions, policies, and/or practices as described above violate the

FLSA’s overtime requirement by regularly and repeatedly failing to compensate

Plaintiff at the required overtime rate.

                                               29.

      Defendant knew, or showed reckless disregard for the fact that Defendant

failed to pay Plaintiff overtime compensation in violation of the FLSA.




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                                               30.

      Pursuant to the FLSA, 29 U.S.C. § 216, Plaintiff is entitled to recover the

unpaid overtime wage differential, liquidated damages in an equal amount to

unpaid overtime, attorneys’ fees, and the costs of this litigation incurred in

connection with these claims.

                                       Count II

                                Violation of 29 U.S.C. §
                              215(a)(3) (FLSA Retaliation)

                                               31.

       Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.

                                               32.

      In August 2021, Defendant terminated Plaintiff.

                                               33.

      Defendant stated Plaintiff’s termination was due to him “vandalizing” the

shop with paintings on the floor. However, Defendant had not terminated any other

employee who had not complained about their pay, but had committed the same

acts of painting the floor.




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                                             34.

      29 U.S.C. § 215(a)(3) makes it unlawful for any person…to discharge or

in any other manner discriminate against any employee because such employee

has filed any complaint or instituted or caused to be instituted any proceeding

under or related to [the FLSA], or has testified or about to testify in any such

proceeding, or has served or is about to serve on an industry committee.

                                             35.

      The FLSA’s definition of the word “person” includes “an individual,

partnership, association, corporation, business trust, legal representative, or any

organized group of persons.”

                                             36.

      Defendants are considered a “person” under the FLSA and are prohibited

from retaliating against Plaintiff because he engaged in activity protected under

the FLSA.

                                             37.

      Defendants’ actions, policies and/or practices as described above violate

the FLSA’s anti-retaliation provision, 29 U.S.C. § 215(a)(3).




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                                                38.

          Defendants knew that their conduct violated the FLSA, and Defendants

acted with malice and/or reckless indifference to Plaintiff’s federally protected

rights.

                                                39.

          Defendants’ violations of the FLSA were willful and in bad faith.

                                                40.

          Plaintiff engaged in statutorily protected activity under the FLSA by, inter

alia, by opposing an employment practice he believed was unlawful under the

FLSA.

                                                41.

          Plaintiff suffered adverse actions as a result of his statutorily protected

conduct, to wit: Defendant cut his hours of work.

                                                42.

          Defendants’ retaliatory conduct was not “wholly unrelated” and was, in

fact, directly related to Plaintiff engaging in activity protected under the FLSA.



                                                43.

          Plaintiff’s statutorily protected activity was the motivating factor

in Defendants’ decision to retaliate against him.

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                                               44.

      As a direct and proximate result of the retaliation, Plaintiff has suffered

emotional distress, for which he is entitled to recover from Defendants.

                                               45.

      Pursuant to the FLSA, 29 U.S.C. § 215(a)(3), Plaintiff is entitled to

recover actual and liquidated damages, including lost wages, as well as

compensatory damages, attorneys’ fees, and the costs of this litigation incurred in

connection with these claims.

                                  Prayer for Relief

     WHEREFORE, Plaintiff respectfully requests that this Court:

     (A)    Grant Plaintiff a trial by jury as to all issues of fact;

     (B)    Enter judgment against Defendant and awarding Plaintiff unpaid

            wages pursuant to the FLSA, 29 U.S.C. §§ 206(d), 207, and 216,

            liquidated damages as provided by 29 U.S.C. § 216, pre-judgment

            interest on unpaid wages, court costs, expert witness fees, and

            reasonable attorneys’ fees pursuant to 29 U.S.C. § 216, and all other

            remedies allowed under the FLSA; and,

     (C)    Grant declaratory judgment declaring that Plaintiff’s rights have been

            violated and that Defendant violated the FLSA;




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(D)   Grant Plaintiff leave to add additional state law claims if necessary;

      and;

(E)   Award Plaintiff such further and additional relief as may be just and

      appropriate.

      Dated this 21st day of September, 2021.

                                Respectfully submitted,

                                /s/ Jeremy Stephens
                                Jeremy Stephens, Esq.
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